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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

ERIN SMITH, et al.                           *

       Plaintiffs                            *

v.                                           *      Case No. 21-CV-02170

DAVID WALLS-KAUFMAN, et al                   *

       Defendants                            *

                                            ORDER

        UPON CONSIDERATION of the Defendant’s Motion in Limine to Exclude the
Testimony of Dr. Jonathan Arden, and Plaintiffs’ Opposition thereto, it is by the United States
District Court for the District of Columbia,

       ORDERED, that the Motion be and the same is hereby DENIED.

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Date                                                        Judge Ana C. Reyes
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